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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §        CASE NO. 1:15-CR-19-14
                                                  §
                                                  §
 KENNETH SHELDRICK                                §

           FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter is referred to the undersigned United States

 Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

 statutory authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to 28

 U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

        On November 16, 2015, this case came before the undersigned magistrate judge for entry of

 a guilty plea by the Defendant, Kenneth Sheldrick, to Count One of the Indictment. Count One

 alleges that on or about sometime in 2011, the exact date being unknown to the Grand Jury, and

 continuing thereafter until March 4, 2015, in the Eastern District of Texas and elsewhere, the

 Defendant, Kenneth Sheldrick, and his co-defendants, knowingly and intentionally conspired and

 agreed with each other, and with persons known and unknown to the Grand Jury, to distribute and

 to possess with the intent to distribute a Schedule II controlled substance, namely, a mixture or

 substance containing a detectable amount of methamphetamine, in violation of 21U.S.C. § 841(a)(1),

 all in violation of 21 U.S.C. § 846.

        The Defendant, Kenneth Sheldrick, entered a plea of guilty to Count One of the Indictment

 into the record at the hearing. After conducting the proceeding in the form and manner prescribed

 by Federal Rule of Criminal Procedure 11, the undersigned finds:


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        a.       That the Defendant, after consultation with his attorney, has knowingly, freely and

 voluntarily consented to the administration of the guilty plea in this case by a United States

 Magistrate Judge in the Eastern District of Texas, subject to a final approval and imposition of

 sentence by the District Court.

        b.       That the Defendant and the Government have entered into a plea agreement which

 was disclosed and addressed in open court, entered into the record, and placed under seal. The

 Defendant verified that he understood the terms of the plea agreement, agreed with the Government’s

 summary of the plea agreement, and acknowledged that it was his signature on the plea agreement.

 To the extent the plea agreement contains recommendations and requests pursuant to FED. R. CRIM.

 P. 11 (c)(1)(B), the court advised the Defendant that he has no right to withdraw the plea if the court

 does not follow the particular recommendations or requests. To the extent that any or all of the terms

 of the plea agreement are pursuant to Rule 11(c)(1)(A) or (C), the undersigned advised the Defendant

 that he will have the opportunity to withdraw his plea of guilty should the court not follow those

 particular terms of the plea agreement.1

        c.       That the Defendant is fully competent and capable of entering an informed plea, that


 1
        “(3) Judicial Consideration of a Plea Agreement.
                 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may
                 accept the agreement, reject it, or defer a decision until the court has reviewed the presentence report.
                 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise
                 the defendant that the defendant has no right to withdraw the plea if the court does not follow the
                 recommendation or request.
        (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to
        the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be
        included in the judgment.
        (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified
        in Rule 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause,
        in camera):
                 (A) inform the parties that the court rejects the plea agreement;
                 (B) advise the defendant personally that the court is not required to follow the plea agreement and give
                 the defendant an opportunity to withdraw the plea; and
                 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case
                 less favorably toward the defendant than the plea agreement contemplated.” FED. R. CRIM. P.
                 11(c)(3)-(5).

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 the Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is made freely, knowingly, and voluntarily. Upon addressing the Defendant personally

 in open court, the undersigned determines that the Defendant’s plea is knowing and voluntary and

 did not result from force, threats or promises (other than the promises set forth in the plea

 agreement). See FED. R. CRIM. P. 11(b)(2).

         d.      That the Defendant’s knowing and voluntary plea is supported by an independent

 factual basis establishing each of the essential elements of the offense and the Defendant realizes that

 his conduct falls within the definition of the crime charged under 21 U.S.C. § 846.

                                   STATEMENT OF REASONS

         As factual support for the Defendant’s guilty plea, the Government presented a factual basis.

 See Factual Basis and Stipulation. In support, the Government would prove that the Defendant is

 the same person charged in the Indictment and that the events described in the Indictment occurred

 in the Eastern District of Texas and elsewhere. The Government would also have proven, beyond

 a reasonable doubt, each and every essential element of the offense as alleged in Count One of the

 Indictment through the testimony of witnesses, including expert witnesses, and admissible exhibits.

 In support of the Defendant’s plea, the undersigned incorporates the proffer of evidence described

 in detail in the factual basis and stipulation, and the Defendant’s admissions made in open court in

 response to the undersigned’s further inquiry into the factual basis and stipulation.

         The Defendant agreed with and stipulated to the evidence presented in the factual basis.

 Counsel for the Defendant and the Government attested to the Defendant’s competency and

 capability to enter an informed plea of guilty. The Defendant agreed with the evidence presented

 by the Government and personally testified that he was entering his guilty plea knowingly, freely and

 voluntarily.


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                                RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of the Defendant, which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Count One of the Indictment. Accordingly, it is further

 recommended that the District Court finally adjudge the Defendant, Kenneth Sheldrick, guilty of the

 charged offense under 21 U.S.C. § 846.

        The Defendant is ordered to report to the United States Probation Department for the

 preparation of a presentence report. The Defendant has the right to allocute before the District Court

 before imposition of sentence.

                                           OBJECTIONS

        Pursuant to 28 U.S.C. § 636(b)(1)(c), each party to this action has the right to file objections

 to this report and recommendation. Objections to this report must: (1) be in writing, (2) specifically

 identify those findings or recommendations to which the party objects, and (3) be served and filed

 within fourteen (14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1)(c)

 (2009); FED. R. CIV. P. 72(b)(2). A party who objects to this report is entitled to a de novo

 determination by the United States District Judge of those proposed findings and recommendations

 to which a specific objection is timely made. See 28 U.S.C. § 636(b)(1) (2009); FED R. CIV. P.

 72(b)(3).

        A party’s failure to file specific, written objections to the proposed findings of fact and

 conclusions of law contained in this report, within fourteen (14) days of being served with a copy

 of this report, bars that party from: (1) entitlement to de novo review by the United States District

 Judge of the findings of fact and conclusions of law, see Rodriguez v. Bowen, 857 F.2d 275, 276–77


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 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error, of any such findings of

 fact and conclusions of law accepted by the United States District Judge, see Douglass v. United

 Servs. Auto. Ass’n, 79 F.3d 1415, at 1428–29 (5th Cir. 1996) (en banc).


         SIGNED this 4th day of December, 2015.




                                                       _________________________
                                                       Zack Hawthorn
                                                       United States Magistrate Judge




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